Case 2:04-cv-02144-.]DB-dkv Document 29 Filed 07/21/05 Page 1 of 2 Page|D 33

IN THE UNITED sTATES DISTRICT coURT r-'n.En ev _M§FL o.c.
FoR THE WESTERN DISTRICT oF TENNESSEE

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Plaintiff,
v. No. 04-2144-13/\/

UNITED STATES OF AMERICA,

Defendant.

 

ORDER GRANTING MOTION TO SUPPLEMENT MOTION AND MEMORANDUM
IN SUPPORT OF MOTION TO DISMISS OR, IN THE ALTERNATIVE,
MOTION FOR SUMMARY JUDGMENT

 

Upon good cause shown, the motion to dismiss or, in the alternative, motion for
summary judgment in the above matter is Supplemented With documents as described in the
government’s motion.

§i\
IT IS SO ORDERED this 20 day of July, 2005.

J. DANIEL BREEN \D
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Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
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Honorable J. Breen
US DISTRICT COURT

